                                                                                                                                                   UNITED STATES DISTRICT COURT

                                                                                                                                         FOR THE DISTRICT OF ALASKA AT ANCHORAGE


                                                                                                                   ALEUTIAN SPRAY LLC,                              IN ADMIRALTY

                                                                                                                                      Plaintiff,
                                                                                                                                                                    CASE NO. 3:18-cv-00288-TMB
                                                                                                                           v.
                                                                                                                                                                    ORDER AND DEFAULT JUDGMENT
                                                                                                                   JOHN COURAGE,

                                                                                                                                      Defendant.


                                                                                                                          Pursuant to the motion for default judgment of the plaintiff, Aleutian Spray LLC, and L.

                                                                                                                  Civ. R. 55.1 and Federal Rules of Civil Procedure 55(a) and 55(b)(2), IT IS HEREBY ORDERED

                                                                                                                  that:

                                                                                                                          1.     The motion for default judgment of Aleutian Spray LLC against the defendant, John

                                                                                                                  Courage, is granted;
GARVEY SCHUBERT BARER


                                                                Seattle, Washington 98101-2939




                                                                                                                          2.     Default is entered against John Courage;
                                           1191 Second Avenue
                        Eighteenth Floor



                                                                                                 (206) 464-3939




                                                                                                                          3.     Default judgment is entered in favor of Aleutian Spray LLC on its Complaint against

                                                                                                                  John Courage; and

                                                                                                                          4.     Pursuant to 46 U.S.C. § 31343(c)(2), the Court declares that the Notice of Maritime

                                                                                                                  Lien for crew wages and other amounts filed against the fishing vessel ALEUTIAN SPRAY, now



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                                                                                                                     Case 3:18-cv-00288-TMB Document 14 Filed 05/10/19 Page 1 of 2
named PACIFIC SOUNDER, United States Coast Guard Official Number 522870 (the “Vessel”),

with the United States Coast Guard National Vessel Documentation Center (“NVDC”) at Batch

696603, Document No. 10611633 (the “Lien Notice”) and any underlying lien of John Courage are

void and of no further force or effect and that the Vessel is not subject to the Lien Notice or any

underlying lien of John Courage. A copy of this Order and Default Judgment may be filed with the

NVDC.

                    10th day of May, 2019.
       Entered this ____
                                              s/TIMOTHY M. BURGESS
                                             U.S. DISTRICT COURT JUDGE




                                                                                            Page 2


  Case 3:18-cv-00288-TMB Document 14 Filed 05/10/19 Page 2 of 2
